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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 IN RE:                                               )       Chapter 7
                                                      )
 NICHOLAS S. GOULETAS,                                )       No. 16-01335
                                                      )
       Debtor.                                        )       Hon. Timothy A. Barnes
 _______________________________________              )
                                                      )
 800 SOUTH WELLS COMMERCIAL LLC,                      )
                                                      )
          Plaintiff,                                  )
                                                      )
 v.                                                   )       Adv. No. 1:16 ap 141
                                                      )
 NICHOLAS S. GOULETAS,                                )
                                                      )
          Debtor/Defendant.                           )

             PLAINTIFF'S STATEMENT OF UNDISPUTED FACTS IN SUPPORT
                 OF PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT

          Pursuant to Rule 7056, Local Bankruptcy Rules, Plaintiff submits the following

 Statement of Undisputed Facts.

                                               Parties

          (1)     Plaintiff 800 South Wells Commercial LLC ("Plaintiff" or "800 SWC") is an

 Illinois limited liability company with its principal place of business in Cook County, Illinois.

 (Answer (D.N. 71; Px A2) ("Ans.") ¶3)

          (2)     Debtor/Defendant Nicholas S. Gouletas ("Gouletas") is an individual who resides

 in Cook County, Illinois. (Ans. ¶4)




 1
     "D.N. ___" refers to Docket Number for the EFC filings in this Adversary Proceeding.
 2
  "Px __" refers to the letter or number of the Exhibits of Plaintiff ("Px") submitted in Plaintiff's
 Appendix of Exhibits in Support of Plaintiff's Motion for Summary Judgment.
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                                        Jurisdiction And Venue

         (3)     This Court has jurisdiction pursuant to 28 U.S.C. §1334. This suit is a core

 proceeding within the meaning of 28 U.S.C. §157(b). (Ans. ¶5)

         (4)     Both Plaintiff and Defendant consent to the entry of final orders or judgment by

 this Court. (Ans. ¶5)

         (5)     Venue is appropriate in this Court pursuant to 28 U.S.C. §§1408 and 1409. (Ans.

 ¶6)

                                                Facts

         A.      Background.

         (6)     Gouletas is the Chairman and CEO of American Invsco. (Px I pp. 69-70; Px 29)

         (7)     As of September 8, 2013, American Invsco had properties and offices in over 40

 major markets around the world. (Px I p. 77; Px 15)

         (8)     Marked as Px 20 is a "Balance Sheet" (i.e., "Financial Statement") of Gouletas as

 of March 31, 2013, which was signed by Gouletas. (Px J p. 25)

         (9)     The Gouletas Balance Sheet was prepared by Gouletas' accounting department,

 and Gouletas would expect his accounting department to fairly and accurately represent his

 assets and liabilities. (Px J p. 26)

         (10)    Gouletas' signature on his Financial Statement indicated that Gouletas had

 reviewed and approved the Financial Statement, and that his Financial Statement was true and

 correct to the best of his information. (Px K pp. 210-11)

         (11)    Gouletas believed that his Financial Statement was accurate at the time he signed

 it. (Px I p. 132)



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        (12)   The representation in Gouletas' Financial Statement that Gouletas had a net worth

 of $25,287,563 was a fair and accurate representation of Gouletas' net worth as of March 31,

 2013. (Px K p. 216)

        (13)   Gouletas' Financial Statement showed that as of March 31, 2013, Gouletas had

 cash in the amount of $240,000, but Gouletas claimed that he had "no idea" where the money

 came from, and did not remember where the money went. (Px K pp. 211-12)

        B.     The River City Complex.

        (14)   In 1997, the River City Complex located at 800 South Wells Street, Chicago,

 Illinois consisted of (a) an apartment complex of 448 apartments; (b) 240,000 square feet of

 commercial/retail/office space (the "Commercial Space"); (c) a 133 space underground parking

 garage (the "Parking Garage"); (d) a surface parking lot; and (e) a 64 slip marina on the Chicago

 River. (Ans. ¶7)

        (15)   In or about April of 1997, American Invsco Development Corporation purchased

 the River City Complex for $41,300,000, and the Plaintiff herein, 800 SWC, became the owner

 of the leasehold interests in the Commercial Space and Parking Garage. (Ans. ¶8)

        (16)   Gouletas was the former manager of 800 SWC who hired his company, Invesco

 Management Company, Inc. (d/b/a American Invesco) ("Invesco"), to manage the Commercial

 Space in exchange for management fees paid by 800 SWC to Invesco. (Ans. ¶11)

        (17)   As of late 2005, 800 SWC had refinanced the leasehold interests in the

 Commercial Space and the Parking Garage on numerous occasions, which were encumbered by

 two substantial leasehold mortgages. The first mortgage was comprised of two loans from

 Parkway Bank and Trust Company ("Parkway") to 800 SWC in the original principal amount of




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 $18,500,000 (the "First Mortgage"). By the end of 2005, the First Mortgage loan was current,

 with the amount owed by 800 SWC to Parkway totaling approximately $11,750,000. (Ans. ¶9)

        (18)   The Commercial Space and the Parking Garage were also encumbered by a

 second leasehold mortgage lien in favor of CIB Bank ("CIB"), which was comprised of a

 $5,900,000 loan from CIB to 800 SWC (the "Second Mortgage"). In March of 2005, the Second

 Mortgage was acquired by D.A.N. Joint Venture III, L.P. ("DJV"). By the end of 2005, the

 Second Mortgage loan was in default, with the amount owed by 800 SWC to DJV totaling

 approximately $10,000,000. (Ans. ¶10)

        (19)   On November 16, 2006, DJV, as the owner and holder of the Second Mortgage

 loan, took over control of the voting rights of 800 SWC pursuant to a Pledge Agreement

 delivered to CIB, which was later assigned to DJV. (Px B p. 11 ¶21; p. 19 ¶3; p. 20 ¶11; Px L

 ¶19) Thereafter, DJV removed Gouletas as the manager of 800 SWC, and itself became the

 manager of 800 SWC. (Id.)

        C.     Gouletas Is Sued For Self-Dealing And Breaching
               Fiduciary Duties Owed To 800 SWC.

        (20)   On March 17, 2011, 800 SWC filed suit against Gouletas in the Circuit Court of

 Cook County, Illinois, No. 2011-L-2895, alleging that Gouletas breached the fiduciary duties

 that he owed to 800 SWC by participating in the scheme with 800 SWC's vice president, John

 Cadden, to loot the assets of 800 SWC, and by grossly mismanaging the affairs of 800 SWC by

 self-dealing (the "Underlying Suit"). (Ans. ¶15; Px L ¶20)

        (21)   After Gouletas failed to sit for his deposition despite numerous court orders to do

 so, on December 5, 2013 800 SWC filed a Motion for Sanctions against Gouletas, which was

 granted by the Court in the Underlying Suit on December 11, 2013. (Px L ¶21; Ans. ¶16)




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        (22)   After Gouletas, once again, failed to sit for his deposition, on January 23, 2014

 the Court in the Underlying Suit entered a Default Judgment against Gouletas in the amount of

 $11,550, 040.12 (the "Judgment"). (Px L ¶22; Ans. ¶16)

        (23)   Gouletas, through counsel, took an appeal of the Judgment to the Appellate Court

 of Illinois, First District, No. 14-0781 (the "First Appeal"). On November 6, 2014 the Court of

 Appeals granted Gouletas' Motion to Dismiss the First Appeal. (Ans. ¶17)

        (24)   On August 7, 2014, Gouletas filed in the Underlying Suit a Petition under Section

 2-1401 of the Illinois Code of Civil Procedure (735 ILCS 5/2-1401) (the "2-1401 Petition")

 seeking to set aside the Judgment. On September 18, 2014, the trial court in the Underlying Suit

 denied Gouletas' 2-1401 Petition. (Ans. ¶18)

        (25)   On October 20, 2014, Gouletas, through counsel, appealed the trial court's Order

 Denying Gouletas' 2-1401 Petition to the Appellate Court of Illinois, First District, No. 14-3214

 (the "Second Appeal"). On April 2, 2015, the Court of Appeals dismissed Gouletas' Second

 Appeal for want of prosecution. (Ans. ¶19)

        D.     The Citation Proceedings Against Gouletas.

        (26)   Due to Gouletas' failure to pay the amount owed under the Judgment, on June 5,

 2014 800 SWC filed a Citation to Discover Assets against Gouletas (Px C) (the "Citation") in

 connection with the Underlying Suit (the "Citation Proceedings"). The Citation was served on

 Gouletas on or about June 9, 2014. (Ans. ¶20; Px N p. 5; Px M ¶26)

        (27)   At all times during the Citation Proceedings, Gouletas was represented by

 Howard Teplinsky, Esq. from the firm of Beermann Pritikin Mirabelli Swerdlove LLP. (Px M

 ¶27)

        (28)   In the Citation, it was clearly stated that:



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                YOU ARE PROHIBITED from making or allowing any transfer
                or other disposition of . . . any property not exempt from execution .
                . . belonging to the judgment debtor [Gouletas] or to which the
                judgment debtor may be entitled or which may be acquired by or
                become due to the judgment debtor . . ., until further order of Court
                or termination of the proceedings.

 (Px C p. 1) Gouletas understood that when he was served with the Citation, he was not to transfer

 anything after receiving the Citation. (Px I p. 108) Moreover, the Circuit Court judge presiding

 over the Citation Proceedings, Judge Alexander White, specifically informed Gouletas that

 "[f]rom the time you received the citation, all your assets were frozen . . .. [T]he citation

 language speaks for itself. It said you will not transfer any asset." (Px N p. 7) Further, in

 response to Judge White's questions, Gouletas testified as follows:

                THE COURT: And you read the citation?
                A (Gouletas): I read the citation, your Honor.

                THE COURT: And it said you shall not transfer any assets.
                A: Yes, and I did not think I had transferred any assets.

 (Px O p. 15)

        (29)    In August of 2014, Gouletas filed his Answer to the Citation (Px D) (the "Citation

 Answer"). (Ans. ¶22) Further, on August 11, 2014 Gouletas filed in the Citation Proceedings his

 sworn Income and Asset Disclosure Form (Px E) (the "Citation Disclosure Form"). (Ans. ¶22) In

 addition, on March 25, 2015, Gouletas submitted in the Citation Proceedings Gouletas'

 Supplemental Responses to Supplemental Proceeding Interrogatories (Px H) (the "Citation Int.

 Resp."). (Ans. ¶26)

        (30)    At no time during the Citation Proceedings did Gouletas either amend or

 supplement his Citation Answer (Px D); his Citation Disclosure Form (Px E); or his Citation

 Interrogatory Responses (Px H). (Ans. ¶26; Px M ¶30)




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        (31)   In neither Gouletas' Citation Answer (Px D), nor in his Citation Disclosure Form

 (Px E), did Gouletas disclose any stock ownership in CIB Marine BankShares, or his interest in a

 stock brokerage account at TD Ameritrade. (Px O p. 16) Through its own investigation

 conducted during the Citation Proceedings, 800 SWC learned that Gouletas did, in fact, own

 shares of stock in CIB Marine BankShares (Px 139) (the "CIB Stock"), which Gouletas held

 through a stock brokerage account at TD Ameritrade (Px 101) (the "TDA Account"). (Px M ¶31)

 Further, through its own investigation, 800 SWC learned that on or about September 4, 2014,

 Gouletas sold his CIB Stock through his TDA Account for just over $51,000 (Px 101), and then,

 on or about that same date, wire transferred $51,323.29 from that stock sale into a checking

 account held in the name of his wife, Natel Matschulat. (Px 101; Ans. ¶25; Px O pp. 20-21 & 33-

 36; Px N pp. 23-24 & 76-77; Px M ¶31)

        (32)   Further, through its own investigation conducted during the Citation Proceedings,

 800 SWC uncovered evidence that Gouletas may have violated the Citation lien by obtaining and

 then cashing numerous cashier's checks issued in his name:

        (a)    On or about July 31, 2014, Gouletas, as the remitter, had a
               cashier's check in the amount of $1,530.52 issued to himself (Px
               120);

        (b)    On or about August 1, 2014, Gouletas, as the remitter, had a
               cashier's check in the amount of $10,000 issued to himself (Px
               122);

        (c)    On or about August 22, 2014, Gouletas, as the remitter, had a
               cashier's check in the amount of $1,500.00 issued to himself (Px
               127); and

        (d)    On or about August 22, 2014, Gouletas, as the remitter, had a
               cashier's check in the amount of $2,500.00 issued to himself (Px
               128).

 (Px M ¶32)



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           E.     The Contempt Proceedings Against Gouletas.

           (33)   Based on the alleged violations by Gouletas of the Citation lien, on April 24, 2015

 800 SWC filed a Motion for Contempt against Gouletas, which was amended on October 9, 2015

 (the "Contempt Motion"). The trial court (White, J.) conducted hearings in connection with the

 Contempt Motion on July 20, 2015, September 2, 2015, and November 24, 2015. (Ans. ¶32; PX

 M ¶33)

           (34)   In connection with the evidence which showed that Gouletas, during the Citation

 Proceedings, had sold his CIB Stock without obtaining permission from the Court, Judge White

 stated:

                  I'm a little bit confused here. We have a citation that says . . . don't
                  transfer assets. And what I'm hearing from the testimony is that
                  apparently [Gouletas' CIB Stock] was sold. The money was
                  forthcoming and was used to buy food, which is a violation of the
                  citation.

 (Px O p. 21) Further, Gouletas testified at the contempt hearing that he supposedly had "no idea"

 why he was going through a series of cashier's checks during the time from and after the Citation

 was served upon him on June 9, 2014. (Px N pp. 13-14)

           (35)   The final day of the contempt hearing was scheduled for January 19, 2016. On the

 eve of Judge White's decision in connection with the motion to hold Gouletas in contempt, on

 January 17, 2016 Gouletas filed a Chapter 7 bankruptcy petition in this Court. (Ans. ¶33; Px M

 ¶35)

           (36)   The Citation Proceedings continued in existence at all times from the date the

 Citation was filed on June 5, 2014 until the date that Gouletas filed for bankruptcy on January

 17, 2016. (Px M ¶36)




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        F.      Gouletas Concealed His Ownership Interest In A House In Greece.

        (37)    In his Citation Answer, Gouletas represented under oath that he did not own any

 real estate. (Px D p. 2) In addition, on August 11, 2014, Gouletas represented in his Citation

 Disclosure Form, again under oath, that he did not own any real estate. (Px E p. 2)

        (38)    Shortly after Gouletsa made the above sworn statements (Px D p. 2; Px E p. 2), on

 September 30, 2014 Gouletas received an email from his sister, Evangeline Gouletas (Px F),

 about Gouletas' ownership interest in a house in Greece (the "Greece Property") (Ans. ¶22),

 which he had inherited, with his sister, in approximately 2008. (Px 176 (Schedule A/B: Property)

 p. 1 no. 1) Gouletas recalls receiving this email (Px F) from his sister. (Px J pp. 50-51)

        (39)    While in his Answer to this Adversary Proceeding Gouletas now admits that he,

 along with his sister, inherited the Greece Property (Ans. ¶22), at no time during the Citation

 Proceedings did Gouletas amend, supplement or correct his Citation Answer or Citation

 Disclosure Form to reflect his ownership interest in the Greece property, or otherwise disclose

 his ownership interest in the Greece Property. (Px M ¶39)

        G.      Gouletas Concealed His Ownership Of Valuable Items Of
                Personal Property.

        (40)    In Gouletas' Citation Answer, he represented under oath that the only personal

 property that he owned was clothing and office furniture. (Px D p. 2) Further, in Gouletas' sworn

 Citation Disclosure Form (Px E), he did not list any ownership in any valuable collectible items.

        (41)    During the Citation Proceedings, however, Gouletas owned a Wurlitzer juke box

 worth approximately $10,000, and a mechanical violin (like a player piano, but a violin) worth

 between $40,000 to $70,000. (Px 176 (Schedule A/B: Property) pp. 2-3 no. 6)

        (42)    While in connection with his Chapter 7 bankruptcy proceeding Gouletas now

 admits that he did, in fact, own the above valuable items of personal property (id.), at no time


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 during the Citation Proceedings did Gouletas amend, supplement or correct his Citation Answer

 or Citation Disclosure Form to reflect his ownership interest in the above valuable collectible

 items, or otherwise disclose his ownership interest in those items. (Px M ¶42)

        H.      Gouletas Concealed His Ownership Interest In The
                Garvey Court Project And NKM Garvey, LLC.

        (43)    During the Citation Proceedings, Gouletas was involved in a real estate

 development project referred to as "Garvey Court". (Px P pp. 43-47) The Garvey Court Project

 involved the construction of a mixed use high-rise retail/office/condominium project on property

 that Gouletas owned (through entities that he owned and controlled) at Clark and Lake Streets in

 Chicago, where a "food court" was located. (Id. pp. 45-47)

        (44)    Basically, Gouletas placed certain properties that he owned into a new entity --

 Garvey Court, LLC -- which would pay off the existing debt on the properties, and develop the

 new high-rise on the Gouletas property. (Citation Int. Resp. (Px H) no. 10 pp. 9-10; Px P pp. 47,

 50-51 & 82; Px Q pp. 25-26)

        (45)    In the original formulation of the plan, Gouletas was going to retain a 25%

 interest in the Garvey Court Project. (Px Q pp. 25-26) Eventually, however, Gouletas "gifted" his

 25% interest in the Garvey Court Project to family members through two newly formed LLCs,

 SEG Garvey, LLC (12%) and NKM Garvey, LLC (13%). (Id. p. 26; Citation Int. Resp. no. 10 p.

 10; Px P pp. 48-9, 68-70 & 84; Px Q p. 27) The "SEG" stands for Gouletas' son, Steven E.

 Gouletas, and the "NKM" refers to Gouletas' wife, Natel K. Matschulat. (Px M ¶45)

        (46)    On March 25, 2015, Gouletas represented under oath in his Citation Int. Resp.

 that he "does not have a membership interest in . . . NKM Garvey, LLC." (Px H no. 10 p. 10) In

 truth, however, during the course of the Citation Proceedings, Gouletas owned a percentage of

 NKM Garvey, LLC. (Ans. ¶26)


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        (47)    While in his Answer to this Adversary Proceeding Gouletas now admits that he

 does, in fact, own a percentage of NKM Garvey, LLC, at no time during the Citation

 Proceedings did Gouletas amend, supplement or correct his Citation Int. Resp. to reflect his

 ownership interest in NKM Garvey, LLC, or otherwise disclose his ownership interest in that

 entity. (Ans. ¶26; Px M ¶47)

        I.      Gouletas Concealed His Deposit Of Money Into Two Checking
                Accounts In The Name Of Dorothea Touris And His Use Of
                Those Accounts For His Personal Financial Benefit.

        (48)    In Gouletas' Citation Disclosure Form (Px E; Px 17), Gouletas purported to list all

 of his bank accounts (id. p. 2), and then acknowledged under oath that he had no other accounts

 other than as listed in his Citation Disclosure Form. (Px Q pp. 15-16) Further, during the course

 of the Citation Proceedings, Gouletas testified on October 20, 2014 that from and after

 November of 2013, he "[did]n't know that [he's] been writing any checks." (Px K pp. 204-05)

        (49)    At no time did Gouletas reveal that he was, during the Citation Proceedings,

 depositing his funds into two checking accounts in the name of his close personal friend,

 Dorothea Touris ("Touris"), and then having Touris write checks from those accounts for his

 personal financial benefit. (Px M ¶49)

        (50)    Touris has known Gouletas for about 40 years. (Px R p. 93) Touris was the

 director of design for Gouletas at American Invsco, who performed design work for American

 Invsco over the last 20 years. (Px R pp. 35 & 93)

        (51)    Touris lives in the same condominium building as Gouletas at 111 East Chestnut

 Street in Chicago, and she bought her condominium from one of Gouletas' entities after Gouletas

 developed that property into condominiums. (Px R pp. 3 & 94)




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         (52)   In early 2015 (and during the Citation proceedings), Gouletas requested that

 Touris deposit his funds into her checking accounts for the payment of Gouletas' bills. (Px J p. 3;

 Px R p. 14) Pursuant to Gouletas' plan, Touris would then take the funds that he had provided to

 her, put that money in her checking accounts, and then pay Gouletas' bills out of her accounts.

 (Px J p. 5; Px R pp. 11, 14 & 16) The funds that Gouletas deposited into Touris' checking

 accounts belonged to Gouletas. (Px J p. 55; Px R pp. 18, 20-21 & 25)

         (53)   On February 17, 2015, Gouletas wire transferred $15,730 into Touris' checking

 account at Chase Bank (the "Touris Chase Account"). (Px 177; Px R pp. 19-20 & 55) The

 $15,730 was money that belonged to Gouletas. (Px R pp. 18-19) Gouletas, however, claims to

 have "no idea" where the $15,730 came from. (Px J p. 17)

         (54)   In March of 2015, Gouletas told Touris that a check for $415,000 was coming to

 her, which she was to deposit in her account for the payment of Gouletas' bills. (Px R p. 13)

 Touris then deposited the $415,000 check into her checking account at Chase Bank. (Px R pp. 13

 & 16-17; Px 178) According to Touris, she and Gouletas "talked about it together and he wanted

 the bills paid, so . . . he asked me [Touris], would you deposit this [$415,000 check] in your

 account and pay the bills." (Px R p. 14) Although Gouletas claimed that the money was a "loan"

 to him, he admitted that the $415,000 was his money. (Px R pp. 18 & 23)

         (55)   The total amount of Gouletas' funds that he deposited into Touris' Chase Account

 was in excess of $431,145. (Px 177; Px R p. 31) Gouletas did not have the right on his own to

 withdraw funds from Touris' Chase Account. (Px R p. 61) Accordingly, by depositing Gouletas'

 funds into Touris' Chase Account, Gouletas put those funds beyond the reach of his creditors.

 (Id.)




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        (56)    The account summaries for Touris' checking account at Chase Bank are reflected

 by DT 14 through DT 21, and are remarked herein as Px 180. Those account summaries all

 pertain to the requests that Gouletas made about taking funds that Gouletas had put into her

 checking account, and that Touris then withdrew from her account at Gouletas' request. (Px R

 pp. 89 & 116-17) As acknowledged by Touris, "those [account summaries reflected by Px 180

 (DT 14 through DT 21)] are all of the financial transactions that [she] handled for Nick Gouletas

 with Nick Gouletas' money", and "[e]very single thing was done by [Gouletas] telling me

 [Touris] to do it." (Px R p. 30 & 54)

        (57)    Although the Citation was served on Gouletas on June 9, 2014, and was not

 suspended until Gouletas filed for bankruptcy herein on January 17, 2016 (Px M ¶57), the

 account summaries for Touris' Chase Account (Px 180) reflect the regular, continuous and

 systematic use of that account by Gouletas from February 17, 2015 when Gouletas made his

 initial wire transfer of $15,730 into that account until September 14, 2015 with the payment of

 Gouletas' credit card bill. (Id.) Some of the more significant withdrawals by Gouletas from

 Touris' Chase Account are set forth below:

 Date            Amount        Payee/Explanation

 2/18/15        $7,000         George Stray, friend of Gouletas. (Px 180-14; Px R pp. 55-56)

 3/16/15        $5,000         Cash. (Px 180-14; Px R pp. 56-57)

 3/17/15        $5,000         Cash. (Px 180-14; Px R pp. 59-60)

 3/20/15        $10,000        Transfer to other checking account. (Px 180-14; Px R p. 60)

 3/20/15        $10,000        Wire transfer at Gouletas' request to "Santander, B". (Px 180-14;
                               Px R p. 60)

 3/20/15        $20,000        Cash. (Px 180-14; Px R p. 61)

 3/20/15        $5,000         Cash. (Px 180-14; Px R pp. 61-62)


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 Date           Amount    Payee/Explanation

 3/20/15    $90,000       Loan to Touris. (Px 180-15; Px R p. 62)

 3/24/15    $53,000       Steven Gouletas. (Px 180-15; Px R p. 65)

 3/24/15    $16,000       Steven Gouletas. (Px 180-15; Px R p. 66)

 3/24/15    $7,200        Steven Gouletas. (Px 180-15; Px R p. 66)

 3/24/15    $440          Steven Gouletas. (Px 180-15; Px R p. 66)

 3/24/15    $30,000       Natel Matschulat, Gouletas' wife. (Px 180-15; Px R pp. 66-67)

 3/26/15    $5,512.22     Condominium assessment. (Px 180-15; Px R pp. 67-68)

 3/26/15    $3,436.06     Payment for assessments on Gouletas' condominium. (Px 180-15:
                          Px R pp. 67-68)

 3/26/15    $1,061        Payment to BOA for mortgage on Gouletas condominium.
                          (Px 180-15; Px R p. 68)

 3/26/15    $869.09       Payment of Gouletas' ComEd bill. (Px 180-15; Px R p. 68)

 3/27/15    $2,949.02     Payment of mortgage. (Px 180-15; Px R p. 69)

 3/27/15    $2,788.28     Payment of assessments for condominiums.
                          (Px 180-15; Px R p. 69)

 3/27/15    $1,865.16     Payment of assessments for condominiums.
                          (Px 180-15; Px R p. 69)

 4/7/15     $10,000       Wire transfer to Luxury Management LLC.
                          (Px 180-17; Px R pp. 70-71 & 83-84)

 4/9/15     $3,581.01     Assessment for Gouletas' condominium. (Px 180-17; Px R p. 71)

 4/13/15    $1,391.55     Payment for Gouletas' condominium on Delaware Street.
                          (Px 180-17; Px R pp. 71-72)

 4/13/15    $230          Assessment for Gouletas' condominium on Delaware Street.
                          (Px 180-17; Px R pp. 74-75)

 4/14/15    $22,474.24    Mortgage for Gouletas' condominium. (Px 180-17; Px R p. 75)

 4/14/15    $4,299.75     Mortgage for Gouletas' condominium. (Px 180-17; Px R p. 75)


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 Date           Amount    Payee/Explanation

 4/14/15    $2,634.74     Payment for assessments on Gouletas' condominium at Delaware
                          Place. (Px 180-17)

 4/14/15    $1,639.82     Payment of Gouletas' ComEd bill. (Px 180-17)

 4/14/15    $125          Payment of AT&T bill. (Px 180-17)

 4/15/15    $4,167.06     Payment of assessment on Gouletas' condominium. (Px 180-17)

 4/16/15    $15,150.29    Unexplained. (Px 180-17)

 4/16/15    $14,268.31    Payment of Gouletas' mortgage. (Px 180-17; Px R p. 75)

 4/16/15    $2,69_.25     Payment of Gouletas' assessment on condominium.
                          (Px 180-17)

 4/16/15    $1,275.29     Payment for Gouletas' parking. (Px 180-17)

 4/27/15    $10,000       Gouletas requested payment to Karen Thorton.
                          (Px 180-18; Px R p. 76)

 4/28/15    $1,620.10     Payment for Gouletas' condominium. (Px 180-18)

 4/29/15    $3,500        Charitable contribution by Gouletas to Greek Annunciation
                          Church. (Px 180-18; Px R pp. 76)

 4/29/15    $1,500        Charitable contribution by Gouletas to Greek Annunciation
                          Church. (Px 180-18; Px R p. 76)

 4/30/15    $2,000        Unexplained. (Px 180-18)

 5/4/15     $13,000       Payment to Gouletas' wife, Natel Matschulat.
                          (Px 180-18; Px R p. 78)

 5/4/15     $10,000       Payment to George Spanos. (Px 180-18; Px R p. 78)

 5/13/15    $5,000        Unexplained. (Px 180-18)

 5/14/15    $10,000       Transferred to another checking account. (Px 180-18)

 5/21/15    $1,000        Unexplained. (Px 180-18)

 5/26/15    $2,712.05     Transferred to checking account. (Px 180-19)



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 Date            Amount        Payee/Explanation

 5/28/15         $10,000       Gouletas gave the money to Touris. (Px 180-19; Px R pp. 80-81)

 5/28/15         $5,000        Cash. (Px 180-19; Px R pp. 81-82)

 5/28/15         $5,000        Cash. (Px 180-19; Px R pp. 81-82)

 5/29/15         $900          Payment on Gouletas' credit card. (Px 180-19)

 5/29/15         $6,500        Payment on Gouletas' wife's credit card. (Px 180-19; Px R p. 82)

 6/4/15          $10,000       Payment to Vivien. (Px 180-19; Px R pp. 82-83)

 6/8/15          $2,171.10     Payment on Gouletas' credit card. (Px 180-19)

 6/9/15          $6,178.31     Payment for Gouletas' condominium. (Px 180-19)

 6/9/15          $1,000        Payment to Heather Von Ehr. (Px 180-19; Px R pp. 86-87)

 6/24/15         $1,000        Payment on Gouletas' credit card. (Px 180-20)

 6/24/15         $5,000        Unexplained. (Px 180-20)

 7/2/15          $2,000        Cash. (Px 180-20; Px R pp. 89-90)

 7/14/15         $1,602.60     Payment for three plane tickets to Atlanta.
                               (Px 180-21; Px R p. 91)

 As of February 10, 2017, there was only $1,368 of Gouletas' funds left in Touris' Chase Account.

 (Px R p. 30)

          (58)   At his deposition conducted in this Adversary Proceeding, Gouletas was less than

 candid in testifying about his deposit and withdrawal of funds from Touris' Chase Account:

          Q:     Why didn't you put the money in your own account?
          A:     I don't recall.

          Q:     Did you ever know why you did it?
          A:     I don't recall.

          Q:     By saying you don't recall, does that mean you at one time knew
                 but now you don't remember?
          A:     I don't recall.


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                                      ***
       Q:   Can you provide the Court with any explanation as to why you
            did it?
                                      ***
       A:   Not that I know of.

       Q:   Can you list any possible reasons as to why you did it?
       A:   No, I don't.

       Q:   How long did this Dorothea Touris, money in her account paying
            your bills, how long did that practice go on?
       A:   I don't recall.
                                        ***
       Q:   The money that you had deposited into Dorothea Touris' checking
            account, where did that money come from?
       A:   I don't recall.

       Q:   How much did you . . . put into Dorothea Touris' account for the
            payment of your bills and the handling of your financial affairs?
       A:   I don't recall.

       Q:   Can you give me an estimate as to the amount?
       A:   No, I can't.

       Q:   Would you agree with me its more than a dollar?
       A:   I don't know.

       Q:   Would you agree with me its more than a million dollars?
       A:   I don't know.

       Q:   Would you agree with me its less than $10 million?
       A:   I don't know.

                                              ***

       Q:   Can you list any reasons why you didn't put [that money] in your
            own account?
       A:   I don't recall.
                                        ***
       Q:   Did you tell [Touris] anything about the money?
       A:   I don't recall.

       Q:   Did she ask any questions about the money?
       A:   I don't recall.

       Q:   Did it just happen by accident?


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        A:     I don't recall.

        Q:     Did you ever have $15,730 wire transferred into Dorothea Touris'
               checking account?
        A:     I don't recall.

        Q:     Other than the $415,000 are you aware of any other sums that you
               had deposited into Dorothea Touris' checking account?
        A:     I don't recall.
                                          ***
        Q:     On March 16, 2015, Dorothea Touris withdrew $5,000 from her
               checking account in cash. Did she give that cash to you?
        A:     I don't recall.

        Q:     On March 20, 2015, there was a $20,000 withdrawal of cash from
               her checking account. Did she give that cash to you?
        A:     I don't recall.

        Q:     How did Dorothea Touris know what bills to pay?
        A:     I don't remember.
                                         ***
        Q:     The cash withdrawals, did you ask her to withdraw cash and give it
               to you?
        A:     I don't recall.

        Q:     Do you deny she withdrew on numerous occasions large sums of
               money in cash and gave the cash to you?
        A:     I don't recall.
                                         ***
        Q:     Do you deny that Dorothea Touris routinely gave you large sums
               of cash?
        A:     I don't recall.

        Q:      Is there any part of your memory to the effect that Dorothea
               Touris would give [you] cash?
        A:     I don't recall.

        Q:     Did you ever request Dorothea Touris to give you cash?
        A:     I don't recall.

 (Px J pp. 3-4, 6-7 & 16-19)

        (59)   In connection with Gouletas' "convenient amnesia" as to why he deposited his

 funds into Touris' checking accounts, Gouletas previously admitted that he understood "it's just



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 as much a violation of your oath to say you don't recall when you do recall as it is to make an

 affirmative misrepresentation." (Px J p. 5)

          (60)   In late January of 2015, Touris met with Gouletas at his office, at which time

 Gouletas presented Touris with a check in the amount of $396,218.84. (Px R pp. 22-23) Touris

 understood that those funds belonged to Gouletas. (Id. p. 23) Gouletas, however, claims to not

 have "any recollection" about what the $396,218.84 check was in reference to. (Px J pp. 44-45)

          (61)   Gouletas then told Touris that "I would like you [Touris] to deposit this [the

 $396,218.84 check] in your account. And I want you [Touris] to pay $195,000 to [Gouletas' son]

 Steven Gouletas and $50,000 to a gentleman [named George Spanos]" (id. pp. 23-25), with the

 balance of a $150,000 to be kept by Touris as a purported reimbursement on an investment. (Id.

 p. 23)

          (62)   This was the first deposit of Gouletas' money into Touris' checking account. (Px R

 p. 24)

          (63)   Thereafter, on February 6, 2015 Touris wrote a check from her MB Bank

 checking account in the amount of $195,000 to Steven E. Gouletas (Px 181; Px R pp. 96-97 &

 117), and a $50,000 check to George Spanos. (Px 182; Px R pp. 116-117)

          (64)   In addition to his "convenient amnesia" during his deposition conducted in this

 Adversary Proceeding, Gouletas provided conflicting testimony as to his deposit of funds into,

 and use of, other people's checking accounts. During the Contempt Proceedings, Gouletas told

 Judge White that his wife used the $51,323.29 from the sale of Gouletas' CIB Stock to "buy

 groceries" and pay for other "living expenses". (Px O pp. 21 & 30-31) At his 341 Meeting of

 Creditors, however, Gouletas, when confronted by copies of checks from Gouletas' wife's

 checking account, testified that he used the $51,323.29 placed in his wife's checking account to



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 pay business and personal expenses. (Px S pp. 11-18) During his subsequent deposition

 conducted in this Adversary Proceeding, however, Gouletas claimed that he "did not remember"

 what he did with the $51,323.29 (Px J p. 66), and supposedly "did not remember" if he

 transferred those funds to his wife and used any of that money for his own benefit. (Id. pp. 66-

 67)

        (65)   At no time during the Citation Proceedings did Gouletas amend, supplement or

 correct his Citation Answer or his Citation Disclosure Form to reflect his deposit of funds into

 Touris' checking accounts, or otherwise disclose his deposit of funds into and use of Touris'

 checking accounts. (Px M ¶65)

        J.     Gouletas Failed To Disclose Charitable Contributions In
               Excess Of $600 That He Made To The Annunciation Greek
               Church Within Two Years Of His Bankruptcy Filing.

        (66)   In his bankruptcy filing, Gouletas represented under oath that he did not make any

 gifts to charities within the two years preceding his bankruptcy filing. (Px 188 (Statement of

 Financial Affairs) p. 11 no. 13) That representation was false. (See Px R pp. 10-11 & 76-77)

        (67)   In truth, on April 29, 2015, Gouletas had Touris, on Gouletas' behalf, take

 Gouletas' funds out of Touris' Chase Account, and write two checks (check nos. 2416 and 2417)

 (Px 180-18)) totaling $5,000 in charitable contributions by Gouletas to the Annunciation Greek

 Church. (Px R pp. 10-11 & 76-77)

        K.     Gouletas Was Evasive About The Handling Of His Financial Affairs.

        (68)   Not only was Gouletas evasive about the funds that he deposited in checking

 accounts held in the name of Touris, he was evasive about the handling of his financial affairs

 during the deposition that was conducted in this Adversary Proceeding:

        Q:     Have you ever had access to a safety deposit box?
        A:     I don't recall.


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                                                   ***
         Q:       Where do you keep your valuable records?
         A:       I don't remember.

 (Px J pp. 61-62)

         L.       800 SWC Files An Adversary Complaint Against Gouletas For
                  Denial Of Discharge Pursuant To 11 U.S.C. §727(a)(2).

         (69)     On March 1, 2016, 800 SWC filed an Adversary Complaint against Gouletas

 seeking, in Count Three, the denial of Gouletas' bankruptcy discharge pursuant to 11 U.S.C.

 §727(a)(2)(A). (D.N. 1) Gouletas filed his answer to the above Adversary Complaint on May 20,

 2016. (D.N. 7; Px A)

         M.       There Is No Evidence To Support Gouletas' Affirmative Defenses.

         (70)     In Gouletas' Answer filed herein, Gouletas asserted two affirmative defenses

 pertaining to Count Three. In his First Affirmative Defense, Gouletas asserted that "Plaintiff

 lacks standing to pursue its claim." (Ans. p. 14 ¶1) And in his Third Affirmative Defense,

 Gouletas asserted that "Plaintiff's claims are barred by the equitable doctrine of unclean hands."

 (Id. p. 15 ¶3)

         (71)     There is no evidence to support Gouletas' affirmative defense of Plaintiff's

 supposed lack of standing. In his "standing" affirmative defense, Gouletas argued that "[t]he duly

 appointed manager of [800 SWC] has not authorized this action." (Ans. p. 14 ¶1) Gouletas

 testified, however, that he has "no idea" whether Plaintiff has the authority to proceed with this

 suit, and has "no idea" of any facts to support any claim that Plaintiff did not have the authority

 to proceed with this suit. (Px J p. 68)

         (72)     DJV became the manager of 800 SWC on November 16, 2006 pursuant to the

 terms of a Collateral Pledge and Security Agreement (Px 32-A) (the "Pledge Agreement")



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 executed by (1) the "Borrower", 800 SWC, and (2) the "Pledgors", River City Investors ("RCI")

 and Gouletas, as the sole members of 800 SWC, in favor of the "Lender", CIB Bank, which was

 succeeded by DJV. (Id. p. 1) As admitted by Gouletas, "on or about November 16, 2006,

 pursuant to a [Pledge Agreement] delivered to CIB Bank, and later assumed by DJV . . ., DJV

 took over control of the voting rights of [800 SWC], and removed Gouletas as the manager of

 [800 SWC]." (Px B p. 19 ¶3) Further, Gouletas admitted that "DJV took control of [800 SWC] . .

 . pursuant to [the Pledge Agreement], which allowed DJV to do so once an event of default

 occurred." (Id. p. 20 ¶11 (emphasis added))

        (73)    Further, pursuant to the Pledge Agreement, RCI and Gouletas agreed that, upon

 default by 800 SWC in repayment of the full amount of financial obligations owed by 800 SWC,

 CIB (now DJV) could serve as the manager of 800 SWC unless and until the full amount of the

 financial obligations owed by 800 SWC to DJV was paid in full. (Px 32-A ¶¶1.1, 4.1, 4.8, 4.12 &

 6.1) It is undisputed that, to date, the full amount of the financial obligations owed by 800 SWC

 to DJV has not been paid in full. (Px L ¶73)

        (74)    In addition, Gouletas and the other previous member of 800 SWC, RCI,

 previously contested the ability of DJV to serve as the manager of 800 SWC. As concluded by

 Bankruptcy Judge Jacquelyn P. Cox in her Order denying Gouletas' prior Motion on the

 authority of DJV to continue as manager of 800 SWC:

                The argument [by RCI and Gouletas] that [DJV] has not acquired
                all of the manager-member power is without basis. Paragraph 1.1
                of the Pledge Agreement [Px 32-A] states "Pledgor [i.e., Gouletas
                and RCI] assigns, pledges and grants to Lender [DJV] a security
                interest in and lien upon all of Pledgor's right, title and interest in
                and to Pledgor's interest in Borrower [800 SWC] (including
                without limitation, Pledgor's rights to [v]ote . . .". [DJV] succeeded
                to all, 100%, of the Pledgor's [i.e., Gouletas and RCI's] interest.

 (Px T p. 6)


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        (75)    In his other affirmative defense pertaining to Count Three, Gouletas argued that

 Plaintiff has "unclean hands" because "Plaintiff has pursued its claims in this Court and in the

 Circuit Court of Cook County with the knowledge that it did not have authority to do so." (Ans.

 p. 15 ¶3) As discussed above, Plaintiff has the authority to pursue with its claims herein and had

 the authority to pursue its claims in the Circuit Court. (See Nos. 72-74)

        (76)    Further, there is no evidence to support Gouletas' affirmative defense of unclean

 hands. During his deposition herein, Gouletas admitted that he has "no idea" whether Plaintiff

 has unclean hands, and has "no idea" of any facts to support a claim that Plaintiff has unclean

 hands. (Px J p. 68)

        N.      The Exhibits Referred To Above Are True And Correct Copies
                Of The Originals, Are What They Purport To Be, And Are
                Admissible In Evidence Herein.

        (77)    The exhibits referred to above (specifically, Pxs A, B, C, D, E, F, H, I, J, K, L, M,

 N, O, P, Q, R, S, T, 15, 17, 20, 29, 32-A, 101, 120, 122, 127, 128, 139, 176, 177, 178, 179, 180,

 181, 182 & 183) are true and correct copies of the originals, are what they purport to be, and are

 admissible in evidence in this action. (Px M ¶77)

                                                              Respectfully submitted,
                                                              ARMSTRONG LAW FIRM

        Dated: August 21, 2017.                               By     /s/F. Dean Armstrong
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                                    Certificate of Service

        The undersigned certifies that a true and correct copy of the foregoing pleading was
 served upon all parties receiving CM/ECF noticing on this 21st day of July, 2017.


                                                  /s/F. Dean Armstrong
                                                  F. Dean Armstrong




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